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FLN (Rev. 3/2007) Deficiency Order                                                      Page 1 of 1
3:08cr22LAC - UNITED STATES OF AMERICA vs. GARY LAKEY


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION
UNITED STATES OF AMERICA

        vs                                              Case No.3:08cr22LAC

GARY LAKEY

                                        ORDER
Your document, LETTER TO MAGISTRATE JUDGE DAVIS, was referred to the
undersigned with the following deficiencies:

        Your document is not properly captioned for this court. Every paper you
        file must have the name of this court, the case style, the case number and
        the title of your pleading. The body of your pleading should state the
        nature of your request and what you want the court to do for you.

        The document does not have a Certificate of Service as required by Rule 5(b)
        and (d) of the Federal Rules of Civil Procedure, showing proper service on your
        attorney and the United States Attorney.

        Pursuant to Local Rule 11.1(D), any party represented in a suit by counsel of
        record shall not thereafter take any step or be heard in the case in proper
        person, absent prior leave of court.

For these reasons, IT IS ORDERED that:

        1.      The Clerk shall return the document to the filing party and send a copy to
                defense counsel.
        2.      Leave is hereby granted for defendant to file a pro se motion asking the
                court to appoint new counsel. Granting leave means only that the motion,
                when filed, will be considered. It will be granted or denied on its merits.
        3.      Counsel will respond to the motion within two days after it is filed.


DONE and ORDERED this 3rd day of April, 2008.



                                                /s/   Miles Davis
                                                MILES DAVIS
                                                UNITED STATES MAGISTRATE JUDGE
